Case 2:15-ml-02668-PSG-SK Document 1225 Filed 02/09/24 Page 1 of 7 Page ID #:45477



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   16                                 UNITED STATES DISTRICT COURT
   17                              CENTRAL DISTRICT OF CALIFORNIA
   18
          IN RE: NATIONAL FOOTBALL                       Case No. 2:15-ml-02668−PSG (SKx)
   19     LEAGUE’S “SUNDAY TICKET”                       DEFENDANTS’ REPLY IN
   20
          ANTITRUST LITIGATION                           SUPPORT OF MOTION IN
          ______________________________                 LIMINE NO. 2 TO EXCLUDE
   21                                                    REFERENCE TO PRIOR
                                                         LAWSUITS NOT INVOLVING
   22     THIS DOCUMENT RELATES TO:                      EITHER PARTY
          ALL ACTIONS                                    Judge: Hon. Philip S. Gutierrez
   23
                                                         Date: May 17, 2024
   24                                                    Time: 2:30 p.m.
   25                                                    Courtroom: First Street Courthouse
                                                                    350 West 1st Street
   26
                                                                    Courtroom 6A
   27                                                               Los Angeles, CA 90012
   28
         Case No. 2:15-ml-02668-PSG (SKx)        Defendants’ Reply In Support Of Motion In Limine No. 2 To Exclude
                                                 Reference To Prior Lawsuits Not Involving Either Party
Case 2:15-ml-02668-PSG-SK Document 1225 Filed 02/09/24 Page 2 of 7 Page ID #:45478



    `1            Defendants’ Motion in Limine No. 2, ECF No. 1110-1 (“Mot.”), seeks to
    2    exclude evidence and argument discussing lawsuits in which neither Plaintiffs nor
    3    the NFL were involved.1 The requested relief is narrow: Plaintiffs should not be
    4    permitted to argue that because other plaintiffs prevailed in other cases involving
    5    other sports leagues, they deserve to prevail here.
    6             Thus, this motion does not seek to “eviscerate” the opinions of Plaintiffs’
    7    experts, ECF No. 1192, Pls.’ Mem. Opp. Defs.’ Mot. in Limine No. 2 (“Opp.”) at 1,
    8    nor does it seek to exclude all comparisons to the practices of other sports leagues.
    9    To the extent the Court finds those comparisons relevant and otherwise admissible,
   10    Plaintiffs may argue such comparisons and rely on admissible evidence of the
   11    relevant industry facts.
   12             Proof of why this motion should be granted rests in Plaintiffs’ own motions in
   13    limine. Plaintiffs have asked this Court to exclude evidence of their requested
   14    injunctive relief in this case because the risk of “confusion of the issues[] and jury
   15    misdirection is far too great.” ECF No. 1102-1, Pls.’ Mot. in Limine No. 2 at 4. Those
   16    risks are all the greater with different, dated litigation involving different parties.
   17    Plaintiffs should not be allowed to have it both ways.
   18             I.        Even Where Underlying Facts May Be Relevant, Discussion Of Past
   19                       Litigation Is Not.

   20             Plaintiffs insist that references to lawsuits involving neither Plaintiffs nor the
   21    NFL Defendants are “highly relevant” and that “their exclusion would be severely
   22    prejudicial to Plaintiffs.” Opp. at 1–2. But their arguments blur the distinction
   23    between the facts about telecasting in other sports leagues and the outcomes of
   24
         1
          Specifically, the Motion seeks to bar Plaintiffs from discussing the lawsuits (but not
   25    any admissible underlying facts) of: NCAA v. Board of Regents of University of
         Oklahoma, 468 U.S. 85 (1984); Garber v. Office of the Commissioner of Baseball,
   26    2016 WL 749950 (S.D.N.Y. Jan. 22, 2016); Laumann v. National Hockey League,
         907 F. Supp. 2d 465 (S.D.N.Y. 2012); Madison Square Garden, L.P. v. National
   27    Hockey League, 2008 WL 4547518 (S.D.N.Y. Oct. 10, 2008); and Chicago
   28
         Professional Sports Ltd. Partnership v. National Basketball Association, 754 F.
         Supp. 1336 (N.D. Ill. 1991), aff’d, 961 F.2d 667 (7th Cir. 1992).
                                                        1
         Case No. 2:15-ml-02668-PSG (SKx)         Defendants’ Reply In Support Of Motion In Limine No. 2 To Exclude
                                                  Reference To Prior Lawsuits Not Involving Either Party
Case 2:15-ml-02668-PSG-SK Document 1225 Filed 02/09/24 Page 3 of 7 Page ID #:45479



    `1   specific litigations. None of the factual evidence of the telecasting arrangements
    2    Plaintiffs seek to offer requires reference to lawsuits. And their attempt to go beyond
    3    these facts—to discuss the claims, arguments, and outcomes of these unrelated
    4    cases—is plainly legal opinion that has no relevance, invades the province of the
    5    Court, and serves only to confuse the issues before the jury.
    6             Plaintiffs’ own arguments bear this out. For example, Plaintiffs’ asserted
    7    purpose in mentioning Garber and Laumann is to “illustrate, within professional
    8    sports leagues, the economic consequences of restraints imposed by horizontal
    9    agreements among teams . . . [and] to show economically whether separate team
   10    telecasts in professional sports are feasible.” Opp. at 6. To the extent that the
   11    economics of these leagues are relevant, admissible evidence of the relevant
   12    economic facts could be explored without any mention that a lawsuit occurred at all
   13    or the outcome of such a lawsuit.
   14             Similarly, Plaintiffs claim that it might be relevant for a jury to understand “the
   15    increased competition and explosive proliferation of televised college football games
   16    after conferences and teams became free to sign their own broadcasting deals
   17    following the decision in NCAA eliminating the restrictive arrangements.” See
   18    Opp. at 2–3. But the argument they propose to make is that following a change in
   19    NCAA regulations, the availability of college football on television increased. See
   20    id. That argument can be made without reference to the NCAA litigation, as the fact
   21    that changes to NCAA regulations were due to a lawsuit is irrelevant to the questions
   22    of what changes were made and what effects were observed.
   23             Plaintiffs’ briefing further confirms that the relevance, if any, of these cases is
   24    their underlying facts, not the lawsuits or outcomes. In their response to Defendants’
   25    Motion in Limine No. 5, Plaintiffs defend at length the value of Dr. Rascher’s
   26    testimony and his College Football But-For World. See ECF No. 1206-1 at 3–5. In
   27    their two-page comparison between the NFL’s telecasting arrangements and College
   28    Football’s telecasting arrangements, Plaintiffs mention NCAA only once, and when
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         Case No. 2:15-ml-02668-PSG (SKx)         Defendants’ Reply In Support Of Motion In Limine No. 2 To Exclude
                                                  Reference To Prior Lawsuits Not Involving Either Party
Case 2:15-ml-02668-PSG-SK Document 1225 Filed 02/09/24 Page 4 of 7 Page ID #:45480



    `1   they do, it is only to mark a point in time at which the NCAA’s practices changed—
    2    a reference that could easily be made without discussing the fact (or legal outcome)
    3    of any lawsuit. See id.
    4             Faced with these arguments, Plaintiffs ultimately admit their true intent: to
    5    suggest that because other leagues’ purportedly anticompetitive conduct changed
    6    following a lawsuit, the same result should happen here. For example, as to the NCAA
    7    litigation, Plaintiffs assert that their expert economist, Dr. Daniel Rascher, should be
    8    permitted to testify as to “the restraints at issue in NCAA” and “what was found to be
    9    anticompetitive and unlawful about those restraints.” Opp. at 2 (emphasis added).
   10    Telling the jury what is and is not lawful about a set of facts is textbook legal
   11    testimony that should be excluded. Haas v. Travelex Ins. Servs. Inc., — F. Supp. 3d
   12    —, 2023 WL 4281248, at *4 (C.D. Cal. June 27, 2023) (excluding a legal opinion as
   13    invading the province of the judge). Moreover, there is no principled basis for arguing
   14    that Dr. Rascher should be allowed to discuss the injunctive relief ordered in NCAA,
   15    but that there should be no discussion at trial of the injunctive relief Plaintiffs are
   16    seeking in this very case. If “[c]ourt-ordered statutory remedies lack any relevance
   17    to the factual issues to be decided by the jury” in this case, ECF No. 1102-1, Pls.’
   18    Mot. in Limine No. 2 at 1, remedies in other cases involving different facts are even
   19    less relevant. The test for whether evidence is admissible is not whether it helps the
   20    Plaintiffs’ case.
   21             II.       Reference To Unrelated Litigation Is Unduly Prejudicial And Will
   22                       Confuse The Issues For The Jury.

   23             Beyond its lack of probative value, discussion of these unrelated litigations
   24    carries a substantial risk of both unfair prejudice to Defendants and jury confusion.
   25             The risk of unfair prejudice here is clear: if a jury hears about not just the facts
   26    and economics of other sports, but also about the existence and outcomes of lawsuits
   27    in those industries, they are likely to infer improperly that the lawsuit brought against
   28    this league should have the same outcome. Ample Ninth Circuit precedent reflects a
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         Case No. 2:15-ml-02668-PSG (SKx)         Defendants’ Reply In Support Of Motion In Limine No. 2 To Exclude
                                                  Reference To Prior Lawsuits Not Involving Either Party
Case 2:15-ml-02668-PSG-SK Document 1225 Filed 02/09/24 Page 5 of 7 Page ID #:45481



    `1   “substantial” concern that “the jury w[ill] import the whole verdict of liability from
    2    [a] prior proceeding.” Engquist v. Or. Dep’t of Agric., 478 F.3d 985, 1010 (9th Cir.
    3    2007), aff’d, 553 U.S. 591 (2008); accord United States v. Sine, 493 F.3d 1021, 1034–
    4    35 (9th Cir. 2007).
    5             Moreover, despite Plaintiffs’ reference to the concern as a “canard,” Opp. at 6
    6    n.5, they cannot meaningfully dispute that discussion of unrelated litigation will
    7    distract the jury. Indeed, they acknowledge that the risk of “confusion of the issues[]
    8    and jury misdirection is far too great” to allow any mention of injunctive relief in this
    9    case. ECF No. 1102-1, Pls.’ Mot. in Limine No. 2 at 4. Discussion of injunctions and
   10    liability from other cases would be even more misleading. After all, Plaintiffs do not
   11    contest that NCAA, Garber, and Laumann had significant factual and procedural
   12    differences, from each other and from this case. Each of those cases dealt with
   13    different leagues and different contracts, and each ended at different points in their
   14    litigations. Any attempt by a jury to evaluate those cases would at a minimum require
   15    an understanding not only of the many factual differences between the sports and the
   16    theories asserted, but also of the procedural postures and legal issues addressed by
   17    each case. Recognizing these realities, courts routinely hold that evidence of other
   18    lawsuits should be excluded to avoid the need for such “mini-trials” about prior cases.
   19    See, e.g., In re HIV Antitrust Litig., 2023 WL 5670808, at *2 (N.D. Cal. Mar. 19,
   20    2023) (noting concern about “mini-trials”); Grace v. Apple, Inc., 2020 WL 227404,
   21    at *3 (Koh, J.) (N.D. Cal. Jan. 15, 2020) (explaining heightened concern about jury
   22    distraction through “mini-trials” where procedural posture of past lawsuits would
   23    require contextualization); United States v. Kealoha, 2019 WL 2620004, at *6 (D.
   24    Haw. June 26, 2019) (noting risk of delay because past “verdict would open up the
   25    door to further evidence about the civil trial”).
   26             Plaintiffs do not cite a single case where a court admitted evidence of third-
   27    party litigations. When confronted with the issue, every case cited in Defendants’
   28    brief, and every case cited in Plaintiffs’ opposition, excluded reference to past
                                                       4
         Case No. 2:15-ml-02668-PSG (SKx)        Defendants’ Reply In Support Of Motion In Limine No. 2 To Exclude
                                                 Reference To Prior Lawsuits Not Involving Either Party
Case 2:15-ml-02668-PSG-SK Document 1225 Filed 02/09/24 Page 6 of 7 Page ID #:45482



    `1   litigation that did not involve either party. Plaintiffs rely on Finjan, Inc. v. Sophos,
    2    Inc. for the proposition that a “prior lawsuit” can be admitted into evidence “given
    3    its relevance to damages, the relationship and history between the parties, and
    4    defendant’s defense.” Opp. at 4 (citing 2016 WL 4560071, at *9 (N.D. Cal. Aug. 22,
    5    2016)). But the prior litigation at issue in Finjan was relevant only because it was a
    6    prior lawsuit between those same parties. Plaintiffs’ reliance on Drummond Coal
    7    Sales, Inc. v. Norfolk Southern Railway Company, 2019 WL 3307850 (W.D. Va. July
    8    22, 2019), also confirms Defendants’ argument. In Drummond, the court allowed
    9    reference to past litigation between the same two parties as background evidence for
   10    the case. Id. at *7. But when it addressed past litigation involving one party but not
   11    the other, the court invoked the rule that, “[g]enerally, courts exclude evidence of
   12    other lawsuits, even if such lawsuits are related to the case before it” and did not
   13    permit discussion of that litigation. Id. at *7–8. The litigations addressed in this
   14    motion, which involve neither party, present an even stronger case for exclusion.
   15             As recognized by the Ninth Circuit and every case Plaintiffs cite, discussing
   16    unrelated litigation at trial risks unfair prejudice and juror confusion. If Plaintiffs’
   17    experts seek to rely on the history of other sports leagues, the relevant and admissible
   18    facts regarding those leagues can be discussed without reference to prior litigations.
   19    As to those litigations, however, the Court should enforce the rule that the Ninth
   20    Circuit affirmed in Engquist, barring testimony about past litigation, but allowing
   21    testimony about underlying facts where relevant and otherwise admissible. See 478
   22    F.3d at 1010.
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         Case No. 2:15-ml-02668-PSG (SKx)       Defendants’ Reply In Support Of Motion In Limine No. 2 To Exclude
                                                Reference To Prior Lawsuits Not Involving Either Party
Case 2:15-ml-02668-PSG-SK Document 1225 Filed 02/09/24 Page 7 of 7 Page ID #:45483



    `1   Dated: February 9, 2024              Respectfully submitted,
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         Case No. 2:15-ml-02668-PSG (SKx)   Defendants’ Reply In Support Of Motion In Limine No. 2 To Exclude
                                            Reference To Prior Lawsuits Not Involving Either Party
